                          Case 20-12738-RAM              Doc 44       Filed 07/29/20        Page 1 of 1

                                        UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF FLORIDA
RE:      Luis Perez Hernandez                                                                    Case Number20-12738 -RAM

TRUSTEE'S NOTICE OF DEFICIENCY FOR CONFIRMATION AND RECOMMENDATION

The Trustee reviewed this case and found the following deficiencies remain unresolved from the Trustee’s letter
requesting documents and prior deficiencies and thus objects as follows (If this case is dismissed, this deficiency
is an objection to reinstatement until all documents are received or all issues are addressed):
WRITTEN RESPONSE TO ISSUES RAISED AND/OR DOCUMENTS REQUESTED MUST BE RECEIVED
BY 5PM AT LEAST FIFTEEN DAYS (NOT INCLUDING HOLIDAYS) PRIOR TO THE CONFIRMATION
HEARING TO AVOID DISMISSAL. Please note: documents that were not timely filed/received by the trustee may
not be considered as there is not sufficient time for an additional review of this case. Call the Trustee's case
administration department prior to “re-sending” documents. The Trustee reserves the right to raise additional
objections UNTIL all documents are timely provided to the Trustee and reviewed for possible issues raised and
additional documents needed.

The debtor or debtor’s attorney must appear at the confirmation hearing even if they pre-hear with the Trustee.
The debtor may be dismissed for failure to fund the plan if they are delinquent in payments. The Court may
dismiss this case if no one appears to represent the debtor at the confirmation hearing.
IMPORTANT NOTICE: IF THE DEBTOR(S) OBJECTS TO THE TRUSTEE'S RECOMMENDATION, THE
DEBTOR'S ATTORNEY MUST CONTACT THE TRUSTEE'S OFFICE AND SPEAK TO AN ATTORNEY
BEFORE 2PM THE LAST BUSINESS DAY PRIOR TO THE CONFIRMATION HEARING TO SEEK A
RESOLUTION OR THE RECOMMENDATION WILL BE DEEMED UNCONTESTED BY THE DEBTOR.
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Recommendation for AUGUST 11, 2020 hearing. All amendments and documents for the AUGUST 11, 2020
continued confirmation hearings were due as of JULY 24, 2020. (Call the Trustee's case administration
department prior to "re-sending" documents) REVIEWED documents received/filed as of July 27, 2020

3AP served 7/20 (LATE)
If Counsel for the Debtor(s) appears and agrees on the record and confirms service of the plan:
If actual consent of creditor (US Bank/Select Portfolio - ReShanudra Suggs) on record and motion to value
granted, Confirm 3 A Plan If not Cont to 9/22 (material change)




I hereby certify that a true and correct copy of the foregoing was served through ECF on the debtor’s attorney or by U.S. First Class
pre-paid Mail on the pro se debtor on the same day filed with the Court.

                                                          Submitted by
                                                          NANCY K. NEIDICH, ESQ, STANDING CHAPTER 13 TRUSTEE
                                                          P.O. BOX 279806, MIRAMAR, FL 33027, (954) 443-4402

 ****The Trustee objects to the appearance of coverage counsel if her recommendation is contested****
